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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                PINE BLUFF DIVISION

WEST WIND AIR, LLC, d/b/a CHRISAIR                                                  PLAINTIFF

vs.                             CASE NO. 5:16-CV-0274 DPM

THRUSH AIRCRAFT, INC.                                                             DEFENDANT

THRUSH AIRCRAFT, INC.                                             THIRD-PARTY PLAINTIFF

vs.

PRATT & WHITNEY CANADA CORP.; and                             THIRD-PARTY DEFENDANTS
PLANESMART AIRCRAFT
SERVICES, LLC

               THRUSH’S NOTICE OF ADDITIONAL AUTHORITY AND
                      REQUEST FOR RECONSIDERATION

       Comes the Defendant, Thrush Aircraft, Inc. (“Thrush”), by its attorneys, Law Offices of

Fred C. Begy III, P.C. and Cross, Gunter, Witherspoon & Galchus, P.C., for its Notice of

Additional Authority and Request for Reconsideration, states as follows:

       1.      Thrush has sought dismissal of Plaintiff ChrisAir’s Complaint for lack of specific

personal jurisdiction on three occasions: once as a threshold motion (ECF Nos. 3, 10), again after

engaging in Court-directed jurisdictional discovery (ECF No. 24), and once again upon the United

States Supreme Court’s June 19, 2017 issuance of a significant, landmark specific personal

jurisdiction decision in Bristol-Myers Squibb Company v. Superior Court of California, San

Francisco County, 137 S. Ct. 1773 (2017) (Bristol-Myers) (ECF No. 39).

       2.      As the Court observed, ChrisAir never argued any form of “stream of commerce”

basis in its responsive briefings. See ECF No. 36, at ¶ 3. Instead, ChrisAir primarily rested its

jurisdictional argument on the Arkansas Court of Appeals’ now-vacated decision in Lawson v.




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Simmons Sporting Goods, Inc., 2017 Ark. App. 44, 511 S.W.3d 883, reh’g denied (Mar. 1, 2017),

cert. granted, judgment vacated, 138 S. Ct. 237 (2017) (Lawson I).

       3.      On July 7, 2017, the Court entered an Order denying Thrush’s Motion for

Reconsideration and reasoned that that Bristol-Myers was not applicable in this products liability

action because there was “[n]o stream of commerce issue” presented in that case and that, unlike

those plaintiffs, ChrisAir’s alleged injury occurred in Arkansas and this suit “relates to Thrush’s

contacts with Arkansas.” ECF No. 45 (emphasis added).

       4.      One month after the Supreme Court issued its opinion in Bristol-Myers, the

defendant in Lawson filed its petition for a writ of certiorari to seek review of the Arkansas Court

of Appeals’ decision to the United States Supreme Court. On October 2, 2017, the Supreme Court

granted Simmons’ petition for writ of certiorari, vacated the judgment of the Arkansas Court of

Appeals in Lawson I, and remanded the case for reconsideration. Simmons Sporting Goods, Inc. v.

Lawson, 138 S. Ct. 237 (2017).

       5.      On June 8, 2018, the Arkansas Court of Appeals issued its remedial decision on

remand in Lawson II, 2018 Ark. App. 343 (2018) (unpublished), in which it acknowledged that

“[e]ven though the facts of Bristol-Myers are distinct from the facts here, the Supreme Court’s

rationale in rejecting California’s sliding-scale test in Bristol-Myers implicates our

application of the Eighth Circuit five-factor test in Lawson I.” Id. at *10 (emphasis added).

Ultimately, the Court of Appeals in Lawson II affirmed the lower court’s dismissal of the out-of-

state defendant in light of Bristol-Myers.

       6.      After this Court denied Thrush’s Motion for Reconsideration (ECF No. 45), the

United States Courts of Appeals for the Second, Third, Fourth, Fifth, Ninth, Tenth, and Eleventh

Circuits have had an opportunity to weigh in on Bristol-Myers’s impact on the requisite analysis



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of specific personal jurisdiction, and each—with their own diverse facts—applied Bristol-Myers

to find no specific personal jurisdiction where there was a broken causal chain between the

defendant, the forum, and the controversy, even where the plaintiffs were residents of the forum

State, and in one case, even where the plaintiffs asserted a stream-of-commerce theory of specific

personal jurisdiction. See SPV Osus Ltd. v. UBS AG, 882 F.3d 333 (2d Cir. 2018); Shuker v. Smith

& Nephew, PLC, 885 F.3d 760 (3d Cir. 2018); PTA-FLA, Inc. v. ZTE Corp., 715 F. App’x 237

(4th Cir. 2017); Gulf Coast Bank & Tr. Co. v. Designed Conveyor Sys., L.L.C., 717 F. App’x 394

(5th Cir. 2017); Axiom Foods, Inc. v. Acerchem Int’l, Inc., 874 F.3d 1064 (9th Cir. 2017); Matus

v. Premium Nutraceuticals, LLC, 715 F. App’x 662 (9th Cir. 2018); Old Republic Ins. Co. v. Cont’l

Motors, Inc., 877 F.3d 895 (10th Cir. 2017); Aviation One of Fla., Inc. v. Airborne Ins. Consultants

(PTY), Ltd, 722 F. App’x 870 (11th Cir. 2018).

       7.      In addition to the highly persuasive authority from the seven Circuit Courts of

Appeals referenced above and discussed more thoroughly in Thrush’s contemporaneously-filed

Brief in Support, at least one federal district court within the Eighth Circuit’s jurisdiction applied

Bristol-Myers in a stream-of-commerce case to find that where there was no causal chain between

the defendant-manufacturer, the forum State, and the controversy at issue, the court lacked specific

personal jurisdiction. Goellner-Grant v. JLG Industries, Inc., 2018 WL 3036453 (E.D. Mo. June

19, 2018).

       8.      Given the evolved understanding of specific personal jurisdiction that emanates

from Bristol-Myers, including its impact on the Eighth Circuit’s five-factor test that this Court

applied in its jurisdictional analysis, Thrush requests that this Court reconsider its denial of the

Renewed Motion and dismiss ChrisAir’s Complaint accordingly.




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       9.      If the Court is not inclined to review the jurisdictional issues raised in this case,

then Thrush respectfully requests that the Court, in light of the significant authority among the

Circuit Courts of Appeals, amend its June 14, 2017 Order to include a certification for interlocutory

review so that the Eighth Circuit can address Bristol-Myers’s impact on the important jurisdictional

questions raised in this matter.

       10.     Thrush hereby incorporates by reference its contemporaneously-filed Brief in

Support of this Motion.

       11.     Thrush further incorporates the exhibits filed in support of its initial and renewed

Motions to Dismiss, which are incorporated herein by reference to avoid unnecessary duplication,

including:

       ECF EXHIBIT REFERENCE                  DESCRIPTION
       10-1                                   Affidavit of D. Stanley Logue

       17-2                                   Affidavit of Joseph Kenneth (“Jody”) Bays

       17-3                                   Affidavit of Eric Rojek

       17-4                                   Supplemental Affidavit of D. Stanley Logue

       17-5                                   Affidavit of Christopher Lee Pollock

       17-6                                   Affidavit of Terry Humphrey

       24-1                                   Second Affidavit of D. Stanley Logue

       24-2                                   Excerpts of Stan Clark’s Deposition

       24-3                                   ChrisAir’s Responses to Requests for
                                              Admission

       24-4                                   Aircraft Bill of Sale (N3000H)

       24-5                                   Correspondence Exchanged Between David
                                              Trotter and Kevin Jackson (1/27/2014)

       24-6                                   Excerpts of David Trotter’s Deposition

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       WHEREFORE, for the reasons stated herein and in the supporting Brief, Thrush

respectfully requests that the Court reconsider its denial of Thrush’s Renewed Motion to Dismiss,

and for all other relief to which it may be entitled, or alternatively, for an amendment to its Order

to include a certification for interlocutory review.

                                               Respectfully submitted,

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                                                                - AND -

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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 6, 2018, I electronically filed the foregoing with the Clerk of
Court using the CM/ECF system, which shall send notification of such filing to the following
attorneys of record:

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